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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


SOUL QUEST CHURCH OF MOTHER
EARTH, INC. and CHRISTOPHER
YOUNG,

             Plaintiffs,

v.                                                      Case No. 6:20-cv-701-WWB-DCI

ATTORNEY GENERAL, UNITED
STATES OF AMERICA and
ADMINISTRATOR, U.S. DRUG
ENFORCEMENT ADMINISTRATION.,

             Defendants.
                                        /

                                       ORDER

      The parties in this action filed a Case Management Report (Doc. 67) on February

16, 2022, requesting the Court to appoint a United States Magistrate Judge to preside

over mediation.

      Therefore, it is ORDERED that:

         1. This case is REFERRED to United States Magistrate Judge Embry J. Kidd,

             who is not assigned to this case, to conduct a mediation conference.

         2. The parties shall attend the conference at Magistrate Judge Embry J.

             Kidd's direction, the details of which will be contained in a separate order

             issued by Magistrate Judge Embry J. Kidd.

      DONE AND ORDERED in Orlando, Florida on February 25, 2022.
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Copies furnished to:

Counsel of Record




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